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                      �nit£,h �tat£s Qlourt of J\pp£als
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 19-7027                                                       September Term, 2019
                                                                  FILED ON: JUNE 26, 2020

LEAGUE OF WOMEN VOTERS OF THE UNITED STATES, ET AL.,
                 APPELLEES

V.

BRIAND. NEWBY, IN HIS CAPACITY AS THE EXECUTIVEDIRECTOR OF THE UNITED STATES ELECTION
ASSISTANCE COMMISSION, ET AL.,
                   APPELLEES

EAGLE FORUM EDUCATION & LEGALDEFENSE FUND,
                 APPELLANT


                            Appeal from the United States District Court
                                    for the District of Columbia
                                        (No. 1: 16-cv-00236)


       Before: TATEL, GARLAND, and MILLETT, Circuit Judges

                                          J U D GMENT

        This cause came on to be heard on the record on appeal from the United States District Court
for the District of Columbia and was argued by counsel. On consideration thereof, it is

        ORDERED and ADJUDGED that the order of the District Court appealed from in this
cause be reversed and the case be remanded for further proceedings, in accordance with the opinion
of the court filed herein this date.

                                             Per Curiam



                                                            FOR THE COURT:
                                                            Mark J. Langer, Clerk

                                                      BY:   /s/

                                                            Daniel J. Reidy
                                                            Deputy Clerk


Date: June 26, 2020

Opinion for the court filed by Circuit Judge Tatel.
